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  14
                         UNITED STATES DISTRICT COURT
  15
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  16
       Skot Heckman, Luis Ponce, Jeanene            CASE NO. 2:22-cv-00047-GW-GJS
  17   Popp, and Jacob Roberts, on behalf of
       themselves and all those similarly           MEMORANDUM OF POINTS AND
  18   situated,                                    AUTHORITIES IN SUPPORT OF
                                                    PLAINTIFFS’ MOTION FOR
  19               Plaintiffs,                      DISCOVERY RELATED TO
                                                    WHETHER A VALID
  20         v.                                     ARBITRATION AGREEMENT
                                                    EXISTS
  21   Live Nation Entertainment, Inc., and
       Ticketmaster LLC,                            The Honorable George H. Wu
  22
                   Defendants.
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   1                        PRELIMINARY STATEMENT
   2         Just last year, Defendants Live Nation Entertainment, Inc., and
   3   Ticketmaster LLC (“Defendants”) moved to compel arbitration against their
   4   consumers in a prior lawsuit before this Court. See Oberstein, et al. v. Live
   5   Nation Entertainment, Inc, et al., 2:20-cv-03888 (C.D. Cal. Feb. 19, 2021),
   6   ECF 84 (“Oberstein”). In Oberstein, Defendants sought to compel plaintiffs
   7   to individual arbitration with JAMS, a well-established arbitral forum. See
   8   generally id. But as Defendants were asking this Court to enforce their JAMS
   9   arbitration agreement, they were privately hard at work dismantling it. And
  10   on July 2, 2021, while the Court reviewed Defendants’ motion to compel
  11   arbitration to JAMS, Defendants posted on their websites a new user
  12   agreement that abandoned JAMS and designated a new dispute-resolution
  13   forum called New Era ADR (“New Era”). See Ticketmaster, Terms of Use,
  14   https://bit.ly/3JZnr7m (last updated July 2, 2021).
  15         New Era is not just new to Defendants’ consumers; it is new to the
  16   world. It launched its services in April 2021 with the mission of “helping
  17   businesses settle legal disputes” by creating rules that “make[] sense for
  18   businesses” and that also benefit “law firms, who are able to provide an
  19   improved client experience” to businesses “and handle a higher volume of
  20   cases” filed by consumers. Exhibit A, Jim Dallke, This startup is helping
  21   businesses settle legal disputes completely online, Chicago Inno (May 3,
  22   2021, 4:05pm), https://bit.ly/3DKeFYv. It previously applied for a trademark
  23   application for the term “e-arbitration,” arguing that the term “is not merely
  24   descriptive, as it actually refers to a whole new way of doing arbitration.”
  25   U.S. Trademark Application No. 88688582, Unpublished (filing date Nov. 12,
  26   2019) (New Era ADR Inc, Applicant) (Response to Office Action),
  27   https://bit.ly/3j2wQ21. New Era argued that its unprecedented “e-arbitration”
  28   process was “electronic arbitration that removes discovery, motion practice
                                                                          PLAINTIFFS’ MOTION FOR
                                            1                    ARBITRATION-RELATED DISCOVERY
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   1   and almost the entirety of all rules, process and procedure.” Id.
   2         All of that is suspect standing alone. But Plaintiffs’ investigation has
   3   yielded additional information that calls into question New Era’s validity and
   4   impartiality.   New Era enters reciprocal arrangements with businesses
   5   including Defendants, taking annual retainer fees from them and providing a
   6   friendly forum to them. As set forth below, New Era received a payment of
   7   up to $350,000 from Defendants in 2021 pursuant to a financial agreement
   8   between Defendants and New Era that Defendants have refused to produce;
   9   that payment appears to have been most if not all of New Era’s revenue in
  10   2021; and Latham & Watkins (Defendants’ counsel) may have played a
  11   significant role in advising both Defendants and New Era in negotiating that
  12   financial agreement, if not also in drafting New Era’s rules and procedures.
  13   New Era apparently even considers Defendants its “anchor client” and
  14   expresses appreciation for the “strong support” and client referrals from
  15   Latham & Watkins. See generally Declaration of Albert Y. Pak in Support of
  16   Plaintiffs’ Motion for Discovery Related to Whether a Valid Arbitration
  17   Agreement Exists (“Pak Decl.”). Now New Era is citing the revenue from
  18   Defendants to aggressively raise capital to “ramp up sales and marketing
  19   efforts.” FINSMES, New Era ADR Raises $4.6M in Seed Funding (Mar. 15,
  20   2022), https://bit.ly/3qZ1uhe. Discovery is necessary to reveal whether, in
  21   light of this, New Era can truly act as an unbiased arbitral forum for
  22   Defendants, which appear to have been intimately involved in New Era’s
  23   founding and growth.
  24         Plaintiffs therefore respectfully request that this Court authorize
  25   discovery from Defendants and New Era related to the business dealings and
  26   communications between Defendants, New Era, and Latham & Watkins
  27   regarding New Era’s arbitration fees, costs, rules, and procedures, as well as
  28   New Era’s financials and marketing of its e-arbitration process. Because this
                                                                          PLAINTIFFS’ MOTION FOR
                                            2                    ARBITRATION-RELATED DISCOVERY
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   1   information goes directly to the validity of Defendants’ delegation clause, to
   2   the substantive unconscionability of Defendants’ arbitration agreement, and
   3   to the severability of all dispute-resolution provisions currently embedded in
   4   Defendants’ operative Terms of Use, Plaintiffs and the Court will be deprived
   5   of the factual predicate needed to assess Defendants’ motion to compel
   6   arbitration without that discovery. Courts have repeatedly granted similar
   7   arbitration-related discovery, including where a different company suddenly
   8   amended its arbitration agreement to substitute a well-established arbitral
   9   forum with a newcomer—and the ensuing discovery confirmed the degree to
  10   which some companies will collude with purportedly neutral dispute-
  11   resolution forums to escape liability.
  12                                 BACKGROUND
  13         The Court is familiar with the antitrust claims at issue; they are the same
  14   as those asserted in Oberstein. As in Oberstein, this proposed class action
  15   challenges Defendants’ anticompetitive scheme to monopolize the primary
  16   and secondary markets for concert ticketing services at major concert venues
  17   across the United States. See ECF No. 1 (“Compl.”), at ¶¶ 6–20. As detailed
  18   in filings from the Antitrust Division of the Department of Justice, Defendants
  19   repeatedly violated a consent decree they entered with the Department of
  20   Justice in 2010, which was meant to prevent the exact type of unrivaled
  21   dominance they now command. Id. at ¶¶ 91–96. Through those violations
  22   and other anticompetitive acts, Defendants have monopolized ticket sales for
  23   major concerts, profiting from consumers who have no choice but to pay
  24   Defendants’ supracompetitive fees in order to attend the events of their choice.
  25   See e.g., id. at ¶¶ 114–23.
  26         In Oberstein, on June 19, 2020, Defendants moved to compel
  27   arbitration of Plaintiffs’ claims to JAMS, an established arbitral forum. See
  28   Oberstein, 2:20-cv-03888-GW-GJS (C.D. Cal. June 19, 2020), ECF No. 25.
                                                                              PLAINTIFFS’ MOTION FOR
                                                3                    ARBITRATION-RELATED DISCOVERY
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   1   As is the case here, the parties in Oberstein agreed to stay the briefing on the
   2   motion to compel arbitration in order to brief and potentially to conduct
   3   discovery related to that motion. See id. (June 24, 2020), ECF No. 29. The
   4   Court then granted Plaintiffs’ requested discovery after three rounds of
   5   briefing and three hearings. See id., ECF Nos. 35, 46, 59. After arbitration-
   6   related discovery closed, the parties completed briefing the motion to compel
   7   arbitration on May 14, 2021. See id., ECF Nos. 110, 111. The Court then
   8   granted Defendants’ motion on September 20, 2021. See id., ECF No. 114.
   9         On July 2, 2021—two months after filing their last brief in support of
  10   their motion to compel arbitration to JAMS, and two months before the Court
  11   ruled on that motion—Defendants rewrote their Terms of Use. In place of
  12   JAMS, they designated New Era ADR as their dispute-resolution forum for
  13   consumers. See Ticketmaster, Terms of Use, https://bit.ly/3JZnr7m (last
  14   updated July 2, 2021).
  15         New Era launched its services in April 2021 with the mission of
  16   “helping businesses settle legal disputes” by creating rules that “make[] sense
  17   for businesses” and that also benefit “law firms, who are able to provide an
  18   improved client experience” to businesses “and handle a higher volume of
  19   cases” filed by consumers. Exhibit A, Jim Dallke, This startup is helping
  20   businesses settle legal disputes completely online, Chicago Inno (May 3,
  21   2021, 4:05pm), https://bit.ly/3DKeFYv.       New Era has described its “e-
  22   arbitration” process as a “a whole new way of doing arbitration” that “eschews
  23   traditional arbitration rules and convention.” U.S. Trademark Application No.
  24   88688582, Unpublished (filing date Nov. 12, 2019) (New Era ADR Inc,
  25   Applicant) (Response to Office Action), https://bit.ly/3j2wQ21. According to
  26   New Era, its “whole new way of doing arbitration” means “electronic
  27   arbitration that removes discovery, motion practice and almost the entirety of
  28   all rules, process and procedure.” Id. One wonders how plaintiffs could ever
                                                                           PLAINTIFFS’ MOTION FOR
                                            4                     ARBITRATION-RELATED DISCOVERY
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   1   gather and present evidence supporting an antitrust violation absent
   2   “discovery, motion practice, and almost the entirety of all rules, process and
   3   procedure.” Id. To file a claim with New Era, consumers must agree to New
   4   Era’s Terms and Conditions, which state: “By using the Website and its
   5   platform, you acknowledge that you will forego the presentation of certain
   6   evidence which might otherwise be available for presentation in a federal or
   7   state judicial forum or through other alternative dispute resolution services.”
   8   New Era ADR, Terms & Conditions, https://bit.ly/3NRdmvM (last updated
   9   June 2021).
  10          To “help[] businesses settle legal disputes,” New Era also enters into
  11   financial partnerships with them.        It offers to businesses a “mass
  12   arbitration/class action risk-reducing subscription solution,” whereby it
  13   collects an up-front, annual retainer fee from businesses in exchange for the
  14   friendly forum it promises (and will feel pressured to deliver). See Pak Decl.
  15   ¶ 2.
  16          Here, New Era’s anti-consumer bias is exacerbated by its direct
  17   financial dependence on Defendants in particular. After being designated as
  18   Defendants’ dispute-resolution forum in July 2021, New Era boasted to its
  19   investors that, in the first eight months of its operations through the end of
  20   2021, it had secured a “multi-year subscription deal” with a “major Fortune
  21   500 anchor client,” and that it had secured “$350,000 in annual recurring
  22   revenue.” See Pak Decl. ¶¶ 3–4. That Fortune 500 anchor client must be
  23   Defendants, as no other business appears to have designated New Era ADR
  24   as its dispute-resolution forum in 2021 pursuant to a subscription agreement.
  25   Id. ¶ 5. And because the deal with Defendants was likely the only subscription
  26   deal that New Era secured in 2021, Defendants’ retainer payment to New Era
  27   likely constituted the entirety of New Era’s “$350,000 in annual recurring
  28   revenue” in 2021.
                                                                          PLAINTIFFS’ MOTION FOR
                                            5                    ARBITRATION-RELATED DISCOVERY
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   1         Defendants’ counsel, Latham & Watkins, appears to have played a role
   2   in fostering the strong ties between Defendants and New Era. New Era
   3   recently attributed its financial success—$350,000 in annual recurring
   4   revenue apparently drawn from Defendants—to the “strong support of an
   5   AmLaw 100 law firm” that “refer[s] prospective clients to us.” Id. ¶ 6. That
   6   is reason enough to suspect that Latham & Watkins, while urging this Court
   7   to compel arbitration to JAMS in Oberstein, was at the same time negotiating
   8   the financial arrangement between Defendants and New Era.               Further
   9   circumstantial evidence supports that conclusion: New Era’s most recent
  10   subscription client, Soho House, is another longtime client of Latham &
  11   Watkins, id. ¶ 8; and New Era’s early SEC filing was executed by an attorney
  12   who was formerly with Latham & Watkins, id. ¶ 9.
  13         The seeming coordination among Defendants, Latham & Watkins, and
  14   New Era may even extend to the purportedly neutral arbitrators who would be
  15   appointed to resolve any dispute between Plaintiffs and Defendants brought
  16   before New Era. An undisclosed number of New Era’s arbitrators financially
  17   benefit from Defendants’ patronage, as they apparently maintain a “stake in
  18   New Era from their service as advisors to [the] company.” Id. ¶ 10. This
  19   underscores the overarching partiality of New Era as a forum.
  20         As brazen as this apparent coordination may sound, it would not be
  21   unprecedented. Two years ago, DoorDash attempted the same move. See
  22   generally Abernathy v. DoorDash, Inc., 3:19-cv-7545-WHA (N.D. Cal.)
  23   (“Abernathy”). It rewrote its arbitration agreement during ongoing legal
  24   proceedings, replacing a well-established arbitral forum, the American
  25   Arbitration Association (“AAA”), with one subject to DoorDash’s direct
  26   influence and control, the International Institute for Conflict Resolution and
  27   Prevention (“CPR”).     DoorDash convinced CPR to alter its arbitration
  28   procedures in DoorDash’s favor via its outside counsel, Gibson Dunn. See
                                                                       PLAINTIFFS’ MOTION FOR
                                            6                 ARBITRATION-RELATED DISCOVERY
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   1   Abernathy, ECF 162-4, at 4 (email from a Gibson Dunn Partner to CPR’s
   2   Senior Vice President of Dispute Resolution Services) (“As I mentioned, I
   3   represent DoorDash, Inc., and we are looking to change our arbitration
   4   administrator from AAA to a new company. We are looking for a way to
   5   solve the issue of mass arbitration demands.”); id. at 19–20 (internal email
   6   from CPR’s CEO) (“Door Dash [sic] and Gibson, Dunn [sic] are frustrated,
   7   and are interested in changing the Door Dash [sic] contracts going forward to
   8   move away from AAA, and want to explore application of our non-
   9   administered rules in these circumstances so as to avoid a filing fee altogether.
  10   . . . I would like to explore a way to work on this because it is the kind of
  11   problem that demands CPR innovation, would further our mission, and could
  12   be an important source of funding going forward.”); id. at 51 (email from
  13   DoorDash’s Associate General Counsel to CPR’s CEO) (“I have reviewed the
  14   terms relating to application of CPR’s Employment-Related Mass Claims
  15   Protocol and agree to such on behalf of DoorDash. Please let us know when
  16   the Protocol is published so that we may link to it in our terms and
  17   conditions.”). Gibson Dunn went so far as to redline CPR’s rules and
  18   procedures on DoorDash’s behalf. See id. at 26 (email from a Gibson Dunn
  19   Partner to CPR’s CEO) (“Thanks again for sending this revised protocol. We
  20   continue to think that we are on the same page and that the protocol could
  21   work for DoorDash. In the attached draft, I’ve interlineated a few comments,
  22   questions, and recommendations.”). All this was uncovered through
  23   arbitration-related discovery identical to that which Plaintiffs now seek. See
  24   Abernathy, ECF 67, at 54, 57, 65.
  25         Guided by Abernathy, as well as this Court’s rulings in Oberstein,
  26   Plaintiffs requested limited arbitration-related discovery from Defendants in
  27   this case. See Pak Decl. ¶ 11. The parties met and conferred, but Defendants
  28   refused to engage in any discovery. See Pak Decl. ¶ 12.
                                                                         PLAINTIFFS’ MOTION FOR
                                             7                  ARBITRATION-RELATED DISCOVERY
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   1    DEFENDANTS SHOULD BE REQUIRED TO PROVIDE LIMITED
   2   DISCOVERY REGARDING WHETHER A VALID ARBITRATION
   3                              AGREEMENT EXISTS
   4         Plaintiffs must be given a fair chance to gather and to present evidence
   5   in opposition to Defendants’ fact-bound motion to compel arbitration. “[T]he
   6   party seeking to compel arbitration[] must prove the existence of a valid
   7   agreement by a preponderance of the evidence.” Wilson v. Huuuge, Inc., 944
   8   F.3d 1212, 1219 (9th Cir. 2019).           With their motion, Defendants have
   9   submitted declarations and dozens of documents in an effort to satisfy this
  10   burden. See generally Dkts. 30, 31. Now, Plaintiffs should be afforded the
  11   opportunity to conduct discovery to explore whether New Era is a partial
  12   forum, whether New Era eliminates their litigation rights, and whether
  13   Defendants drafted their arbitration agreement in bad faith. These issues bear
  14   directly on the unconscionability of Defendants’ arbitration agreement and its
  15   delegation clause, as well as on the severability of the unconscionable
  16   provisions from the remainder of the agreement.
  17         Governing law recognizes that factual disputes bear on arbitrability and
  18   provides for a trial on them. The Federal Arbitration Act (“FAA”) provides,
  19   on the one hand, that “[a] party aggrieved by the alleged failure, neglect, or
  20   refusal of another to arbitrate under a written agreement for arbitration” may
  21   move to compel arbitration, 9 U.S.C § 4, as Defendants have now done so.
  22   The FAA also provides, on the other hand, that when the other party puts “the
  23   failure, neglect, or refusal to [arbitrate] in issue,” as Plaintiffs have done here,
  24   “the court shall proceed summarily to the trial thereof.” Id. Indeed, “the party
  25   alleged to be in default” of the allegedly valid arbitration agreement “may . .
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                                                                           PLAINTIFFS’ MOTION FOR
                                              8                   ARBITRATION-RELATED DISCOVERY
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   1   . demand a jury trial of such issue, and upon such demand the court shall make
   2   an order referring the issue or issues to a jury.” Id.1
   3            Unconscionability is one such fact-laden issue of arbitrability. “It is
   4   well-established that unconscionability is a generally applicable contract
   5   defense, which may render an arbitration provision unenforceable.”
   6   Nagrampa v. MailCoups, Inc., 469 F.3d 1257, 1280 (9th Cir. 2006). And
   7   “numerous factual inquiries bear upon the question” of unconscionability.
   8   Walnut Producers of California v. Diamond Foods, Inc., 187 Cal. App. 4th
   9   634, 644 (2010).
  10            Thus, “a party opposing a motion to compel arbitration is entitled to
  11   discovery relevant to the issue of unconscionability.” Hamby v. Power Toyota
  12   Irvine, 798 F. Supp. 2d 1163, 1164 (S.D. Cal. 2011); see also Coneff v. AT&T
  13   Corp., No. 06-CV-0944-RSM, 2007 WL 738612, at *2 (W.D. Wash. Mar. 9,
  14   2007). “When it is claimed or appears to the court that the contract or any
  15   clause thereof may be unconscionable the parties shall be afforded a
  16   reasonable opportunity to present evidence as to its commercial setting,
  17   purpose, and effect to aid the court in making the determination.” Cal. Civ.
  18   Code § 1670.5(b). Information that has any probative value to this fact-
  19   intensive inquiry is discoverable, and “the bar for relevance is low.”
  20   Oberstein, 2:20-cv-03888 (C.D. Cal. Aug. 3, 2020), ECF 35, at 3–5 (ordering
  21   arbitration-related discovery); see also Oberstein, ECF 46, at 4–5 (reiterating
  22   that “the bar for relevance is low”).
  23            The discovery that Plaintiffs seek here is relevant for three reasons.
  24            First, Plaintiffs seek information that goes to the heart of a key factual
  25   dispute over substantive unconscionability: the partiality of the designated
  26   dispute-resolution forum.        “[A] dispute resolution procedure is not an
  27

  28   1
           Plaintiffs demand a jury trial on arbitrability.
                                                                           PLAINTIFFS’ MOTION FOR
                                                9                 ARBITRATION-RELATED DISCOVERY
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   1   arbitration unless there is a third party decision maker, a final and binding
   2   decision, and a mechanism to assure a minimum level of impartiality with
   3   respect to the rendering of that decision.” Cheng-Canindin v. Renaissance
   4   Hotel Assocs., 50 Cal. App. 4th 676, 687–88 (1996). Arbitration may not be
   5   conducted in a forum with “interests [] so allied with those of the party that,
   6   for all practical purposes, [it] is subject to the same disabilities which prevent
   7   the party [itself] from serving.” Graham v. Scissor-Tail, Inc., 28 Cal. 3d 807,
   8   827 (1981); see also Lopez v. Ace Cash Express, Inc., No. LA CV11–04611
   9   JAK, 2012 WL 1655720, at *6 (C.D. Cal. May 4, 2012) (quoting Wherry v.
  10   Award, Inc., 192 Cal. App. 4th 1242, 1248 (2011)). Where a designated forum
  11   is “so identified with [a] party as to be in fact, even though not in name, the
  12   party,” an agreement to arbitrate is “essentially illusory”—it is bereft of
  13   “minimum levels of integrity” and unenforceable on grounds of
  14   unconscionability. Graham, 28 Cal.3d at 824–25 (citing Cross & Brown Co.
  15   v. Nelson, 167 N.Y.S.2d 573 (N.Y. App. Div. 1957)); see also id. (“Unless we
  16   close our eyes to realities, [the agreement] becomes, not a contract to arbitrate,
  17   but an engagement to capitulate.”). For this reason, discovery to supplement
  18   Plaintiffs’ initial findings is needed to resolve this issue of forum bias—the
  19   true nature of Defendants’ financial arrangement with New Era and the extent
  20   to which New Era’s self-described “mass arbitration/class action risk-
  21   reducing subscription solution,” Pak Decl. ¶ 2, is designed to accommodate
  22   Defendants’ efforts to extirpate the “remnant of procedural rights” left to their
  23   customers under the previous Terms of Use, see Abernathy, (N.D. Cal. Feb.
  24   10, 2020), ECF No. 177, at 7–8.
  25         Second, Plaintiffs’ requested discovery is necessary to explore the
  26   degree to which New Era will eliminate Plaintiffs’ litigation rights—another
  27   key   factor   for   substantive    unconscionability.        “[A]     substantive
  28   unconscionability analysis is sensitive to ‘the context of the rights and
                                                                          PLAINTIFFS’ MOTION FOR
                                             10                  ARBITRATION-RELATED DISCOVERY
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   1   remedies that otherwise would have been available to the parties,’” requiring
   2   the factfinder to “examine both the features of dispute resolution adopted as
   3   well as the features eliminated.” OTO, L.L.C. v. Kho, 8 Cal. 5th 111, 130
   4   (2019) (quoting Sanchez v. Valencia Holding Co., LLC, 61 Cal. 4th 899, 922
   5   (2015)). That examination cannot be confined to the publicly available rules
   6   and procedures.     “In determining whether an arbitration agreement is
   7   sufficiently bilateral, courts assessing California law look beyond facial
   8   neutrality and examine the actual effects of the challenged provision.” Ting
   9   v. AT&T, 319 F.3d 1126, 1149 (9th Cir. 2003). Plaintiffs do not know the
  10   terms of the financial agreement between New Era and Defendants, the
  11   communications leading up to the agreement’s execution, or the content of the
  12   conversations between New Era and Defendants regarding how New Era’s
  13   rules and procedures would be applied to claims brought against Defendants.
  14         By way of example, Plaintiffs cannot ascertain the full extent to which
  15   New Era has already agreed to eliminate their discovery rights. “To be
  16   [substantively conscionable], at minimum the arbitration agreement must
  17   require . . . sufficient discovery.” Lopez, 2012 WL 1655720, at *6 (quoting
  18   Wherry, 192 Cal. App. 4th at 1248). New Era makes clear that Plaintiffs’
  19   discovery rights will be substantially curtailed, see New Era ADR, Rules and
  20   Procedures, https://bit.ly/3qZadQw (updated March 2, 2022) (stating that
  21   “New Era ADR operates on the premise that limitations on discovery are one
  22   of the primary ways efficiencies are achieved in arbitration”), and it requires
  23   Plaintiffs to consent to that curtailment, see New Era ADR, Terms &
  24   Conditions, https://bit.ly/3NRdmvM (last updated June 2021) (requiring users
  25   to “acknowledge that you will forego the presentation of certain evidence
  26   which might otherwise be available for presentation in a federal or state
  27   judicial forum or through other alternative dispute resolution services”). New
  28   Era’s rules and procedures governing discovery, updated less than a week
                                                                       PLAINTIFFS’ MOTION FOR
                                            11                ARBITRATION-RELATED DISCOVERY
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   1   before Defendants’ motion to compel arbitration, ECF No. 30 (Mar. 8, 2022),
   2   already raise the specter of unconscionability. Compare Fitz v. NCR Corp.,
   3   118 Cal. App. 4th 702, 717 (2004) (“Granting the arbitrator discretion to
   4   determine whether additional discovery is necessary . . . is an inadequate
   5   safety valve.”), and O’Hanlon v. JPMorgan Chase Bank, N.A., No. 15–CV–
   6   06640–DDP, 2015 WL 5884844, at *6 (C.D. Cal. Oct. 7, 2015) (finding
   7   unconscionable a discovery provision that leaves “discovery at the arbitrator’s
   8   discretion—without any indication of what kind of law or rules the arbitrator
   9   will apply to limit that discretion”), with New Era ADR, Rules and
  10   Procedures, https://bit.ly/3qZadQw (updated March 2, 2022) (“Any request
  11   for discovery must be submitted to the neutral, at which point the neutral has
  12   discretion to determine whether it should be allowed or not.”). Further
  13   revelation of communications between New Era and Defendants regarding
  14   draconian restrictions on discovery would buttress this position. See Ting,
  15   319 F.3d at 1149.
  16         Third, the proposed discovery into the drafting process behind New
  17   Era’s rules is relevant to the severability of the unconscionable provisions in
  18   Defendants’ Terms of Use. “If the central purpose of [a] contract is tainted
  19   with illegality, then the contract as a whole cannot be enforced. . . . [A]n
  20   unconscionable arbitration term should also not be severed if drafted in bad
  21   faith because severing such a term and enforcing the arbitration provision
  22   would encourage drafters to overreach.” Lim v. TForce Logistics, LLC, 8
  23   F.4th 993, 1005–06 (9th Cir. 2021) (citing Armendariz, 24 Cal. 4th at 124–
  24   25); see also Cal. Civ. Code § 1670.5(a) (“If the court as a matter of law finds
  25   the contract or any clause of the contract to have been unconscionable at the
  26   time it was made the court may refuse to enforce the contract, or it may
  27   enforce the remainder of the contract without the unconscionable clause, or it
  28   may so limit the application of any unconscionable clause as to avoid any
                                                                        PLAINTIFFS’ MOTION FOR
                                            12                 ARBITRATION-RELATED DISCOVERY
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   1   unconscionable result”). To explore whether Defendants’ Terms of Use,
   2   including the incorporation of the New Era rules, were drafted in bad faith,
   3   Plaintiffs should be permitted to take discovery into the communications
   4   between Defendants, New Era, and Latham & Watkins related to the drafting
   5   process.
   6         Under analogous circumstances involving a flagrant forum switch, the
   7   Northern District of California ordered precisely the kind of discovery that
   8   Plaintiffs here seek. See Abernathy, ECF No. 67 at 54 (Hearing Transcript),
   9   (“The Court: Well, maybe effective tomorrow [Plaintiffs are] going to get a
  10   big deposition or two. Because if this is the kind of hide-the-ball we’re going
  11   to get, then [Plaintiffs] get to do a little discovery.”); id. at 65 (“[The Court:]
  12   [I]t would be an important fact, to me at least, on unconscionability if in order
  13   to get away from [one arbitral forum], you ran off to [a different arbitral
  14   forum] and cooked up some custom made deal, and then—and then you really
  15   wrote the terms yourself[.]”); id. at 66 (“I will give you one deposition. Go to
  16   [the new arbitral forum], do a 30(b)(6). And then all the communications [sic]
  17   with Gibson Dunn, with DoorDash, to show how the rule got written. . . . That
  18   would be something that might — it would surely add color to the case.”).
  19   And as set forth above, the ensuing discovery showed that Gibson Dunn had
  20   written the rules of the new forum on DoorDash’s behalf.
  21         More generally, time and again, courts have granted similar discovery
  22   into the unconscionability of arbitration provisions. See O’Brien v. Am. Exp.
  23   Co., No. 11–CV–1822–BTM, 2012 WL 1609957, at *5 (S.D. Cal. May 8,
  24   2012), objections overruled, 2012 WL 3628667 (S.D. Cal. Aug. 21, 2012)
  25   (“The number of class actions brought by American Express, the procedures,
  26   rules and costs of arbitrators, and American Express’s relationships with the
  27   arbitrators are relevant to substantive unconscionability. These topic areas are
  28   relevant to whether the arbitration agreement at issue is one-sided. Plaintiff
                                                                          PLAINTIFFS’ MOTION FOR
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   1   may serve discovery on these categories limited to the time period covering
   2   the proposed class in this case.”); Newton v. Clearwire Corp., No. 2:11–CV–
   3   00783–WBS–DAD, 2011 WL 4458971, at *6 (E.D. Cal. Sept. 23, 2011)
   4   (“The undersigned concludes that much of the information sought by plaintiff
   5   through the disputed discovery requests may allow her to make the case that
   6   the arbitration clause at issue here produces overly harsh or unjustifiably one-
   7   sided results [which is] clearly relevant to plaintiff’s claim that this arbitration
   8   clause is unconscionable. Although limited in this pre-arbitration context, the
   9   undersigned is mindful that this is the discovery phase of the litigation.”);
  10   Coneff, 2007 WL 738612, at *2 (“[P]laintiffs have also requested that certain
  11   30(b)(6) witnesses be prepared to testify about the development of AT&T
  12   Wireless’s terms and conditions of service and how those terms and
  13   conditions were to be presented and explained to customers. The Court agrees
  14   that this topic is connected to defendants’ motion to compel arbitration in that
  15   it relates to the circumstances surrounding the making of the customers’
  16   wireless service agreements, which may be relevant to plaintiffs’ response to
  17   the motion.”).
  18         The delegation clause at issue does not change the analysis.
  19   Defendants’ proposed delegation would be to the very same dispute-
  20   resolution forum whose neutrality is at issue. Plaintiffs will argue that the
  21   delegation clause in Defendants’ Terms of Use is “unenforceable [because]
  22   the delegation itself is unconscionable.” See Saravia v. Dynamex, Inc., 310
  23   F.R.D. 412, 419 (N.D. Cal. 2015) (citing Rent–A–Center, West, Inc. v.
  24   Jackson, 561 U.S. 63, 71–74 (2010)). While parties can expressly delegate to
  25   an arbitrator the “gateway issues” of the validity and scope of an arbitration
  26   provision, see Oberstein v. Live Nation Ent., Inc., No. CV 20-3888-GW-
  27   GJSX, 2021 WL 4772885, at *7 (C.D. Cal. Sept. 20, 2021) (citing Henry
  28   Schein, Inc. v. Archer & White Sales, Inc., –– U.S. ––, 139 S. Ct. 524, 529
                                                                           PLAINTIFFS’ MOTION FOR
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   1   (2019)), any such delegation is itself subject to judicial review for
   2   unconscionability, Lim, 8 F.4th at 1000–04; see also Saravia, 310 F.R.D. at
   3   419 (citing Rent-A-Center, 561 U.S. at 71–74).
   4                                 CONCLUSION
   5         For the foregoing reasons, the Court should grant Plaintiffs’ motion
   6   for discovery related to whether a valid arbitration agreement exists.
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                                            15                ARBITRATION-RELATED DISCOVERY
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  1                                  ATTESTATION
  2         I am the ECF user whose identification and password are being used to
  3   file the foregoing Memorandum of Points and Authorities in Support of
  4   Plaintiffs’ Motion for Discovery Related to Whether a Valid Arbitration
  5   Agreement Exists. Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I, William R.
  6   Sears, attest that all other signatories listed, and on whose behalf the filing is
  7   submitted, concur in this filing’s content and have authorized such filing.
  8

  9    Dated: April 6, 2022                             /s/ William R. Sears
                                                          William R. Sears
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                                             17                 ARBITRATION-RELATED DISCOVERY
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